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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No.13-60289-CIV-ROSENBAUM/HUNT


 DIAMOND A. KJELLBERG

         Plaintiff,

 v.

 PINNACLE ASSET GROUP, LLC.,

       Defendant.
  _________________________________________/

                                 NOTICE OF PENDING SETTLEMENT

         Plaintiff, through undersigned counsel, hereby submits this Notice of Pending Settlement

 and states the following:

      1. Plaintiff’s counsel has had ongoing settlement discussions with Defendant’s counsel.

      2. Plaintiff and Defendant’s counsel have reached a settlement regarding this case and have

         executed the settlement documents.

      3. Upon receipt and clearance of the settlement funds, Plaintiff will file the appropriate

         dismissal document with the Court. Plaintiff requests until June 15th, 2013 to file her

         Final Order of Dismissal or, in the alternative, to file their Joint Discovery Plan and

         Conference Report.


 Dated: May 20th, 2013

                                                Respectfully submitted,

                                                JENNIFER M. COLSON, ESQ.
                                                Attorney for Plaintiff
                                                Post Office Box 50028
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                                    Lighthouse Point, Florida 33064
                                    Telephone: (954) 784-2290
                                    Facsimile: (954) 784-2770
                                    jcolson@jennifercolsonpa.com

                                    s/Jennifer M. Colson
                                    Jennifer M. Colson, Esq.
                                    Florida Bar No. 047783
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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                       Case No.13-60289-CIV-ROSENBAUM/HUNT


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       Plaintiff,

 v.

 PINNACLE ASSET GROUP, LLC.,

       Defendant.
  _________________________________________/


                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 20th, 2013, I electronically filed the foregoing
 document with the Clerk of Court using CM/ECF. I also certify that the foregoing
 document is being served this day on all counsel of record or pro se parties identified on
 the attached Service List in the manner specified, either via transmission of Notices of
 Electronic Filing generated by CM/ECF or in some other authorized manner for those
 counsel or parties who are not authorized to receive electronically Notices of Electronic
 Filing.



                                                 s/Jennifer M. Colson
                                                 Jennifer M. Colson, Esq.


                                    SERVICE LIST

 Barbara Fernandez
 Hinshaw & Culbertson LLP
 2525 Ponce de Leon Blvd.
 Coral Gables, FL 33134
 bfernandez@hinshawlaw.com
